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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


 STATE OF COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.


              PLAINTIFFS’ ADMITTED EXHIBITS AND DEMONSTRATIVES


       On May 14, 2025, Plaintiffs provided the Court with a thumb drive containing Plaintiffs’

Post-Trial List of Admitted Exhibits and Demonstratives, as well as copies of the admitted

exhibits and demonstratives. A public version of the Post-Trial List is attached hereto.

May 15, 2025                                         Respectfully submitted,

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